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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


RICHARD LOPEZ AND GLORIA LOPEZ,
on behalf of themselves and all others
similarly situated,


               Plaintiffs,                           Civil Action No. 5:19-cv-380

       vs.

PROGRESSIVE COUNTY MUTUAL
INSURANCE COMPANY AND APRIL
HAGER,

               Defendants.



             AMENDED REPORT ON ALTERNATIVE DISPUTE RESOLUTION

       Pursuant to Local Rule CV-88 and the Court’s October 23, 2019 Amended Scheduling

Order (ECF 45), the parties respectfully submit this Amended Report on Alternative Dispute

Resolution (“ADR”). On August 12, 2019, the parties submitted an initial Joint Alternative

Dispute Resolution Report regarding settlement negotiations (ECF 28). On March 12, 2020, the

parties submitted a second Report on Alternative Dispute Resolution stating that mediation was

scheduled for March 16, 2020, with Don Philbin at his office in San Antonio. Given travel

restrictions and other issues surrounding the coronavirus, the parties have modified their mediation

plan. Rather than a full day in person mediation on March 16, 2020, the parties will participate in

a half-day mediation with Don Philbin with Plaintiffs and their counsel in person at the mediation

and Progressive’s counsel and representative, who all reside outside of Texas, participating via

telephone.

       1.      Status of settlement negotiations: Plaintiffs submitted a written joint demand to
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the Defendants on July 12, 2019. Kymberly Kochis responded in writing on behalf of Progressive

County Mutual Insurance Company on August 7, 2019. John Fabry, on behalf of Plaintiffs,

provided additional information by email to Kymberly Kochis on August 8, 2019.

          2.   Identity of persons responsible for settlement negotiations for each party:

               A.      For Plaintiffs: John Fabry.

               B.      For Defendants: Kymberly Kochis.

          3.   Whether ADR is appropriate and identification of method, provider, how the

provider was selected, and how the provider will be compensated: All parties have agreed to

mediate with certified mediator Don Philbin on March 16, 2020. Mediation is scheduled for a half

day at Mr. Philbin’s office in San Antonio, Texas. The parties will schedule a second half day or

full day in person mediation at a future date. The parties have agreed that the cost of the mediator

should be shared equally, with Plaintiffs treated as a single party and both Defendants treated as a

single party for the purpose of allocating the cost of the mediator. The parties have agreed that

Defendant April Hagar and her counsel will appear telephonically and the Court has granted said

relief.

          4.   All of the parties who have appeared in the action conferred concerning the contents

of this ADR Report and have agreed as to its contents.

                                              Respectfully submitted,

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